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                 TD Bank – Rt 101 Goods/R        – 4848
Deposit Source    Transactions      Total        Connection to Business

    Cash              242        $491,791.09
   TOTAL                         $491,791.09

                                 PAYEES
        Payee                     Count                    Total
     Ian Freeman                   12                  -$415,922.00
  Shire Free Church                 2                   -$30,667.00
   L     E                          1                   -$47,967.00
       TOTAL                                           -$494,556.00
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